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DECLARATION

i, Joan Doe, a pseudonym, state as follows:

1. lam a competent adult over 18 years of age able to testify as to personal knowledge. The facts
in this declaration are true and correct to the best of my knowledge, information, and belief, and | am
competent to testify to them if called upon to do so.

2. In the 1994-95 school year, | was told by the plaintiff in Jane Doe v. Trump and Epstein (1:16-cv-
04642, SDNY) that the plaintiff was subject to sexual contact by the Defendants at parties in New York
City during the summer of 1994.

| declare under penalty of perjury that the foregoing is true and correct.

i - ,
DATED: July ?) 216 ( agar VL

Joan Doe, a pseudonym
